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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 PHYLLIS MICELLI,                                  )
                                                   )
                Plaintiff,                         )
                                                   )
        v.                                         )          Case No. 1:18-cv-4392
                                                   )
 ALLSTATE VEHICLE & PROPERTY                       )
 INSURANCE COMPANY,                                )
                                                   )
                Defendant.                         )

                                          COMPLAINT

       Plaintiff, Phyllis Micelli, by her attorneys, the Merlin Law Group, for her Complaint

against Defendant, Allstate Vehicle & Property Insurance Company, states:

                                              FACTS

       1.      Plaintiff, Phyllis Micelli (“Plaintiff” or “Ms. Micelli”), is a Florida citizen residing

at 410 Bemen Drive in Lady Lake, Florida.

       2.      Prior to March, 2018, Ms. Micelli was the owner of the single-family residential

dwelling located at 10927 South Hamlin Avenue, in Chicago, Illinois (“the insured premises”).

       3.      Defendant, Allstate Vehicle & Property Insurance Company (“Allstate”), was and

is an Illinois corporation and was and is an Illinois citizen, being an Illinois corporation with its

principal place of business in Northbrook, Illinois.

       4.      This court has subject matter jurisdiction over this matter pursuant to Title 28,

U.S.C. § 1332(c)(1) because there is completely diversity of the citizenship of the parties and the

amount in controversy exceeds $75,000.

       5.      Venue is proper in this Court pursuant to Title 28, U.S.C. § 1391 because the events

giving rise to Plaintiff’s claims occurred in this judicial district. Additionally, Allstate does

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business and/or transacts business in this judicial district and, therefore, is subject to personal

jurisdiction in this judicial district and resides here for venue purposes.

       6.      Allstate issued to the Plaintiff a homeowners insurance policy that was in full force

and effect between August 27, 2016 and August 27, 2017 (“the insurance policy”). (A copy of the

homeowners insurance policy is attached as Exhibit A).

       7.      Under the insurance policy, Allstate insured Plaintiff for accidental direct physical

loss to the insured premises and to personal property in the insured dwelling unless limited or

excluded.

       8.      On or about December 29, 2016, while the insurance policy was in full force and

effect, the insured premises sustained sudden and accidental direct physical loss to the insured

premises and to personal property within the premises due to water (“the water loss”).

       9.      Plaintiff duly submitted a claim to Allstate.

       10.     Allstate acknowledged coverage for the water loss and paid Plaintiff for some, but

not all, of the damage to the insured premises.

       11.     Plaintiff has substantially performed all post-loss conditions required by the

insurance policy to be performed by her, requested of her, and/or not waived by Allstate including,

but not limited to, paying the premium for the insurance policy, giving prompt notice of the loss

to Allstate, and cooperating with its investigation of the loss and claim.

       12.     Although requested to do so, Allstate has failed and refused to pay Plaintiff the

entire amount of the damage to the personal property within the insured premises as a result of the

water loss.




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                                             COUNT I
                                        (Breach of Contract)

       13.     Plaintiff re-alleges paragraphs 1 through 12 of the Facts as paragraph 13 of Count

I of the Complaint.

       14.     Allstate’s failure to pay Plaintiff the entire amount of the damage to the personal

property within the insured premises from the covered water loss is a breach of the insurance

contract.

       15.     This breach of the insurance contract was and is the direct and proximate cause of

damage to Plaintiff in an amount in excess of $75,000.

       16.     This is an action based on a “written instrument” within the meaning of the Illinois

Interest Act and, therefore, Plaintiff is entitled to prejudgment interest.

       WHEREFORE, Plaintiff, Phyllis Micelli, prays for judgment in her favor and against

Defendant, Allstate Vehicle & Property Insurance Company, in an amount in excess of $75,000,

plus prejudgment interest and costs.

                                            COUNT II
                                        (Section 155 Relief)

       17.     Plaintiff re-alleges paragraphs 1 through 14 of count I of the Complaint as

paragraph 17 of count II of the Complaint.

       18.     At the time of the loss, Allstate’s internal claims policies, practices, and procedures

included compliance with the regulations promulgated by the Illinois Director of Insurance within

Part 919 of the Illinois Administrative Code as well as compliance with sections 154.5 and 154.6

of the Illinois Insurance Code.




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       19.     Plaintiff is entitled to an award of taxable costs under section 155 of the Illinois

Insurance Code by virtue of Allstate engaging in the following vexatious and unreasonable conduct

including, but not limited to:

       (a)     failing to pay her all amounts due under the insurance policy within 40 days of the
               loss, which constitutes an unreasonable delay in paying the claim as a matter of
               law, in violation of the regulations promulgated by the Illinois Director of Insurance
               within section 919.80 (d)(7)(A) of the Illinois Administrative Code;
       (b)     failing to advise her in writing within 75 days from the date the water loss was
               reported for the delay in not resolving her claim, in violation of the regulations
               promulgated by the Illinois Director of Insurance within section 919.80(d)(7)(B) of
               the Illinois Administrative Code;
       (c)     failing to provide her with a reasonable explanation for the delay in resolving her
               claim, in violation of the regulations promulgated by the Illinois Director of
               Insurance within
       (d)     failing to acknowledge with reasonable promptness pertinent communications
               regarding her claim, in violation of the regulations promulgated by the Illinois
               Director of Insurance within section 919.40 of the Illinois Administrative Code;

       (e)     not attempting in good faith to effectuate a prompt, fair, and equitable settlement
               of her claim, a claim in which liability was reasonably clear, in violation of section
               154.6 of the Illinois Insurance Code and in violation of the regulations promulgated
               by the Illinois Director of Insurance within section 919.50 of the Illinois
               Administrative Code;
       (f)     failing and refusing to pay for all of her covered losses to the personal property
               within the insured premises due and owing under the insurance policy without
               conducting a full, fair, and objective investigation based on all available facts and
               circumstances, in violation of its internal claims polices, practices, and procedures
               and in violation of section 154.6 of the Illinois Insurance Code;

       (g)     failing to properly train and to supervise Tunisha Stewart, the claim representative
               responsible for the adjustment of her personal property claim;
       (h)     taking depreciation that it knew or should have known was excessive and contrary
               to industry standards in arriving at its actual cash value payment for certain personal
               property damaged and /or destroyed in the water loss;

       (i)     forcing her to retain legal counsel to represent her at an examination under oath
               first requested more than 10 months after the water loss, a request that was
               unreasonable under the circumstances and served no purpose other than to further
               delay payment for her covered water loss;


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      (j)    acknowledging in an email through its counsel on May 11, 2018 that Allstate would
             be issuing a check for $33,123.34 for certain personal property destroyed in the
             water loss; yet, failing to issue said payment as of the date of the filing of this
             lawsuit; and

      (k)    forcing her to retain legal counsel to sue to recover all benefits that should have
             been immediately forthcoming under the insurance policy, including the
             $33,123.34 payment referenced above.

      WHEREFORE, Plaintiff, Phyllis Micelli, prays for an award of taxable costs, including

reasonable attorney fees, in her favor and against Defendant, Allstate Vehicle & Property

Insurance Company.




                                                  /s/ Edward Eshoo, Jr.___________
                                                  Edward Eshoo, Jr.
                                                  Christina M. Phillips
                                                  MERLIN LAW GROUP
                                                  181 West Madison, Suite 3475
                                                  Chicago, Illinois 60602
                                                  Telephone: (312) 260-0806
                                                  Facsimile: (312) 260-0808
                                                  eeshoo@merlinlawgroup.com
                                                  cphillips@merlinlawgroup.com
                                                  Attorneys for Plaintiff




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